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JTW: 09.14.20

U.S. Department of Justice

 

 

United States Attorney

District of Maryland
Chnstine Goo Suite 400 DIRECT: 410-209-4924
Assistant United States Attorney 36 S. Charles Street MAIN: 410-209-4800
Christine. Goo@usdoj.gov Baltimore, MD 21201-3119 FAX: 410-962-0717

September 14, 2020

Tyler Mann, Esq.

Re: United States v. Vonnelle Winchester
Criminal Number: CCB-19-037

Dear Mr. Mann:

This letter, together with the Sealed Supplement, confirms the plea agreement which has
been offered to the Defendant by the United States Attorney’s Office for the District of Maryland
(“this Office”). If the Defendant accepts this offer, please have him execute it in the spaces
provided below. If this offer has not been accepted by October 5, 2020, it will be deemed
withdrawn. The terms of the agreement are as follows:

Offenses of Conviction

1. The Defendant agrees to plead guilty to Count Nine of the Superseding Indictment filed
against him, which charges him with possession with the intent to distribute cocaine base, in
violation of 21 U.S.C. § 841. The Defendant admits that he is, in fact, guilty of those offenses and
will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows:

a. That on or about September 26, 2018, in the District of Maryland, the Defendant
knowingly or intentionally possessed cocaine base;

b. that the substance was in fact cocaine base; and

c. the Defendant possessed the cocaine base with the intent to distribute it.
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Penalties
3. The maximum penalties provided by statute for the offense(s) to which the Defendant is
pleading guilty are as follows:
COUNT | STATUTE | MAND. MIN. MAX MAX MAX FINE |; SPECIAL
IMPRISON- | IMPRISON- | SUPERVISED ASSESS-
MENT MENT RELEASE MENT
9 21U.S.C. | NA 20 years At least 3 years; | $1,000,000 | $100
§ 841 maximum of
life

a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant to 18
US.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

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Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the

Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to

attend.

d. The Defendant would have the right to testify in the Defendant’s own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges. By
pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s

decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

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g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind in the above-referenced criminal case, and the Court will find the

Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C.§ 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28 U.S.C.
§ 991 through 998. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. a. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree that the applicable base offense level is 18 pursuant to United States Sentencing Guidelines
(“U.S.S.G.”) § 2D1.1(c)(14). The parties further agree, pursuant to U.S.S.G. § 1B1.2, that the
Defendant has stipulated to a more serious offense; specifically, conspiracy to possess with the
intent to distribute more than 28 grams of cocaine base, but less than 112 grams of cocaine base,
~ and, therefore, that the Defendant’s adjusted offense level is 24 pursuant to U.S.S.G. § 2D1.1(c)(8).

b. This Office does not oppose a two-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3El.1(a), based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
one-level decrease in recognition of the Defendant’s acceptance of personal responsibility for the
Defendant’s conduct. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. § 3E1.1(a) and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies

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involvement in the offense; (iii) gives conflicting statements about the Defendant’s involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (viii) violates this Agreement in any way. Based on the foregoing, the parties
agree that the Defendant’s final adjusted offense level is 21.

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the

Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11 (c) (1) (C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C)
that a sentence in the range of 36-48 months imprisonment in the custody of the Bureau of Prisons
is the appropriate disposition of this case taking into consideration the nature and circumstances
of the offense, the Defendant’s criminal history, and all of the other factors set forth in 18 U.S.C.
§ 3553(a). This Agreement does not affect the Court’s discretion to impose any lawful term of
supervised release or fine or to set any lawful conditions of probation or supervised release. In the
event that the Court rejects this Agreement, except under the circumstances noted below, either
party may elect to declare the Agreement null and void. Should the Defendant so elect, the
Defendant will be afforded the opportunity to withdraw his plea pursuant to the provisions of
Federal Rule of Criminal Procedure 11(c)(5). The parties agree that if the Court finds that the
Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge personal
responsibility as set forth herein, neither the Court nor the Government will be bound by the
specific sentence contained in this Agreement, and the Defendant will not be able to withdraw his

plea.

Obligations of the Parties

10. At the time of sentencing, this Office will recommend a sentence in the range of 36-48
months imprisonment. This Office reserves the right to bring to the Court’s attention all
information with respect to the Defendant’s background, character, and conduct that this Office
deems relevant to sentencing, including the conduct that is the subject of any counts of the
Superseding Indictment. At the time of sentencing, this Office will move to dismiss any open

counts against the Defendant.
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Waiver of Appeal

11. In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

1. The Defendant reserves the right to appeal the sentence of
imprisonment if the total term of imprisonment exceeds 48 months; and

i. This Office reserves the right to appeal the sentence of
imprisonment of the total term of imprisonment is less than 36 months.

C. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Defendant’s Conduct Prior to Sentencing and Breach

12. a. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including

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statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)}—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed

and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

13. The Defendant expressly understands that the Court is not a party to this agreement. In the
federal system, sentence is imposed by the Court, and the Court is under no obligation to accept
this plea agreement. In the event the Court rejects this Rule 11(c)(1)(C) plea agreement, pursuant
to Rule 11(c)(5)(C), the Defendant will be informed that he may withdraw his plea. Ifhe persists
in the guilty plea thereafter, the Defendant understands that the disposition of the case may be less
favorable than that contemplated by this agreement. The Defendant understands that neither this
Office, his attorney, nor the Court can make a binding prediction or promise that the Court will
accept this agreement. The Defendant agrees that no one has made such a binding prediction or

promise.

Entire Agreement

14. This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective

unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Robert K. Hur
United States Attorney

By: _/S/ eho
Christine O. Goo
Clinton J. Fuchs
Assistant United States Attorneys

 
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Ihave read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. Jam completely satisfied with the representation of my attorney.

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Date Vonnelle Winchester

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

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Date Tyler Mahe Esquire

 
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ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

Beginning at a time unknown, but at least as early as January of 2017 and continuing until
January 2019, the Defendant, Vonnelle Winchester was a member of a drug trafficking
organization (“DTO”) selling cocaine base (“crack cocaine”) from an open-air drug “shop”
operating in the 800 block of McAleer Court in in Baltimore City, Maryland. Throughout the
period of the conspiracy, members of the conspiracy (1) purchased quantities of cocaine and crack
cocaine from various sources of supply; (2) purchased mixing or cutting agents from various
sources of supply; (3) prepared and packaged the narcotics for street-level sales; and (4) sold the
crack cocaine to retail customers throughout Baltimore City.

During the period of the conspiracy, the Defendant acted as a street-level seller (“hitter”)
for the DTO who obtained quantities of crack packaged for street-level sale and then sold the crack
to retail customers. Throughout the period of the conspiracy the Defendant was observed at the
“shop” conducting what appeared to be retail drug sales. Additionally, on September 26, 2018, a
confidential informant (“CI’) working for the Bureau of Alcohol, Tobacco, Firearms and
Explosives (“ATF”) purchased a plastic baggie containing approximately 15g of cocaine base from
the Defendant in exchange for $1,049.00. Overall, during the period of the conspiracy is
reasonably foreseeable to the Defendant that he and other members of the conspiracy would
distribute at least 28 grams but less than 112 grams of crack cocaine.

The Government’s evidence in this case consists of, among other things, controlled
purchases of narcotics from the Defendant and his co-conspirators, the seizure of narcotics and
narcotics paraphernalia, review of recorded, jail calls, social media evidence, and the testimony of

informants.

SO STIPULATED:
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Christine O. Goo
Clinton J. Fuchs
Assistant United States Attorneys

 

Vonnelle Winchester
Defendant

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Le. GA

Counsel for ‘Defendant

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